Case 1:15-cv-02507-JLK Document 65-10 Filed 05/08/17 USDC Colorado Page 1 of 5




                        Kyle Jeffery Schwark vs.

                      Sheriff Fred Wegener, et al.




             Deposition of Jonathan William Singer, D.O.

                           December 21, 2016




                                                                          Exhibit J
     Case 1:15-cv-02507-JLK Document 65-10 Filed 05/08/17 USDC Colorado Page 2 of 5
Kyle Jeffery Schwark vs.                                                                               Deposition of Jonathan William Singer, D.O.
Sheriff Fred Wegener, et al.                                                                                                   December 21, 2016
                                                                     Page 25                                                                        Page 27
·1· · · · Q.· ·Do you know how Mr. Schwark was referred to you?                ·1· · · · Q.· ·Which Xanax is; correct?
·2· · · · A.· ·I don't recall.                                                 ·2· · · · A.· ·Yes.
·3· · · · Q.· ·Do you know Narconon?· Do you know what that is?                ·3· · · · Q.· ·And I will probably use Xanax throughout today's
·4· · · · A.· ·Ah, yes.                                                        ·4· ·deposition because I know that's primarily what you
·5· · · · Q.· ·What is Narconon?                                               ·5· ·prescribed Mr. Schwark; correct?
·6· · · · A.· ·That's a rehab group out of Fort Collins and,                   ·6· · · · A.· ·Yes.
·7· ·yeah, he might have come through that group.                              ·7· · · · Q.· ·What type of antianxiety medications do you
·8· · · · Q.· ·Were you working with that group during that time               ·8· ·prescribe for withdrawal, those that we've already
·9· ·frame?                                                                    ·9· ·referenced?
10· · · · A.· ·I was.                                                          10· · · · A.· ·Yes.
11· · · · Q.· ·Were you volunteering or how did that work?                     11· · · · Q.· ·And do you prescribe any other medications besides
12· · · · A.· ·No, they paid me for my services.                               12· ·Suboxone for opioid withdrawal?
13· · · · Q.· ·And would you come weekly and meet with a group                 13· · · · A.· ·Yes.
14· ·and provide counseling or --                                              14· · · · Q.· ·What do you prescribe?
15· · · · A.· ·I'd visit the facility but most of the work was                 15· · · · A.· ·I prescribed other types of opioid agents.· I have
16· ·done out of my office down there.                                         16· ·used methadone, a variety of different things.
17· · · · Q.· ·And would you meet individually or with a group?                17· · · · Q.· ·Within the last, let's say, eight years since
18· · · · A.· ·No, it was individually.· They would bring their                18· ·you've been treating Mr. Schwark, have you prescribed
19· ·patients in to see me during acute detox treatment, and I                 19· ·patients anything other than Suboxone for opioid withdrawal?
20· ·would provide assessment and treatment.                                   20· · · · A.· ·As I just stated.
21· · · · Q.· ·When you say acute detox, is that another way of                21· · · · Q.· ·So the methadone would have been also within that
22· ·saying providing care for somebody going through withdrawal? 22· ·time period?
23· · · · A.· ·Some were in withdrawal.· Some had already gone                 23· · · · A.· ·Yes.
24· ·through withdrawal.                                                       24· · · · Q.· ·So you have a choice between those two medications
25· · · · Q.· ·Both narcotic withdrawal as well as alcohol                     25· ·when prescribing them.

                                                                     Page 26                                                                        Page 28
·1· ·withdrawal?                                                               ·1· · · · A.· ·Or other opioids.
·2· · · · A.· ·Yes.                                                            ·2· · · · Q.· ·Such as?
·3· · · · Q.· ·If Mr. Schwark testified that he began treating                 ·3· · · · A.· ·Hydrocodone, oxycodone, oxymorphone, a variety of
·4· ·with you at Narconon which then led to his ongoing treatment ·4· ·different things.· It depends on what the patient is
·5· ·with you, would you have any reason to disagree with that?                ·5· ·addicted to and what their level of use is.
·6· · · · A.· ·No, I think that's correct.                                     ·6· · · · Q.· ·So if a person was addicted to oxycodone, you
·7· · · · Q.· ·In your private practice, do you provide treatment              ·7· ·wouldn't prescribe them that as part of their withdrawal or
·8· ·to patients for withdrawal?                                               ·8· ·would you?
·9· · · · A.· ·I do.                                                           ·9· · · · A.· ·Part of their withdrawal is tapering the schedule.
10· · · · Q.· ·Both narcotic withdrawal as well as alcohol                     10· · · · Q.· ·Okay.· So my understanding is that the withdrawal
11· ·withdrawal?                                                               11· ·that Mr. Schwark presented to you in October of 2008 was
12· · · · A.· ·Yes.                                                            12· ·heroin withdrawal; correct?
13· · · · Q.· ·And are there specific medications that you                     13· · · · A.· ·I need to find that record.
14· ·typically prescribe for withdrawal?                                       14· · · · Q.· ·Let me find it for you because I've got it.
15· · · · A.· ·I have a variety of medications that I use.                     15· · · · A.· ·Okay.
16· · · · Q.· ·Such as?                                                        16· · · · · · ·MR. ZIPORIN:· Start with Exhibit 6, please.
17· · · · A.· ·Suboxone is a common agent I use for withdrawal                 17· · · · · · ·MR. MICHALEK:· I think we have had 6.
18· ·from opioids.· Benzodiazepines are used for withdrawal from               18· · · · · · ·MR. ZIPORIN:· Did we?
19· ·alcohol.· Antianxiety agents, antidepressants, sleep aids, a              19· · · · · · ·MR. MICHALEK:· Remember that stuff off the phone?
20· ·variety of different things.                                              20· · · · · · ·MR. ZIPORIN:· Okay.· I forgot about that.· Let's
21· · · · Q.· ·Is Librium one of the medications that could be                 21· ·start with 7, please.
22· ·prescribed for alcohol withdrawal?                                        22· · · · Q.· ·(By Mr. Ziporin)· So, Dr. Singer, you've been
23· · · · A.· ·It's one that I commonly prescribe.                             23· ·handed Exhibit 7, which I will represent to you was
24· · · · Q.· ·What about Xanax?                                               24· ·presented to my office as being one of your records.· Does
25· · · · A.· ·Yeah, I use benzodiazepines, as I said.                         25· ·this look like one of your records?


                                                               Stevens-Koenig Reporting                                                       ·Pages 25–28
                                                          303-988-8470· www.SKReporting.com                                                                   YVer1f
     Case 1:15-cv-02507-JLK Document 65-10 Filed 05/08/17 USDC Colorado Page 3 of 5
Kyle Jeffery Schwark vs.                                                                            Deposition of Jonathan William Singer, D.O.
Sheriff Fred Wegener, et al.                                                                                                December 21, 2016
                                                                   Page 65                                                                         Page 67
·1· · · · Q.· ·Have you ever seen it in any of your patients?                ·1· · · · Q.· ·Well, there's two time frames of note in this
·2· · · · A.· ·Not that I can recall.                                        ·2· ·case.
·3· · · · Q.· ·If a patient discontinues the use of Xanax, that              ·3· · · · A.· ·Right.
·4· ·doesn't cause seizures, does it?                                        ·4· · · · Q.· ·There's a November 2013 time frame.· Have you
·5· · · · A.· ·It can.                                                       ·5· ·reviewed any of those records?
·6· · · · Q.· ·Is it possible or is it medically probable?                   ·6· · · · A.· ·Just my chart records.· So just my chart note.
·7· · · · A.· ·I don't know what that means, medically probable.             ·7· · · · Q.· ·From when?
·8· · · · Q.· ·Have you ever seen any of your patients have a                ·8· · · · A.· ·September 9, 2013.
·9· ·seizure based on the discontinuation of Xanax or a similar              ·9· · · · Q.· ·Okay.· We will come back to that.
10· ·form of medication?                                                     10· · · · · · ·And he wasn't quite yet incarcerated then.
11· · · · A.· ·Benzodiazapines, yes.                                         11· · · · A.· ·Okay.
12· · · · Q.· ·Which patients?                                               12· · · · Q.· ·So he was incarcerated from November 12 through
13· · · · A.· ·The names of the patients?                                    13· ·November 14, 2013.· Have you reviewed any of the jail
14· · · · Q.· ·Well, how many patients?                                      14· ·records?
15· · · · A.· ·Two.                                                          15· · · · A.· ·No, I have not.
16· · · · Q.· ·Was Mr. Schwark one of those patients?                        16· · · · Q.· ·All right.· He was then incarcerated again on
17· · · · A.· ·I think that was what happened in his                         17· ·February 25, 2014, through April 1 of 2014.· You've not
18· ·incarceration, yes.                                                     18· ·reviewed any of those jail records during that time period
19· · · · Q.· ·So you believe that discontinuation of his Xanax              19· ·either?
20· ·is what led to his seizure at the Park County Jail?                     20· · · · A.· ·The medication records that we talked about
21· · · · A.· ·I don't know what it was attributed to.                       21· ·before.
22· · · · Q.· ·All right.· You don't have an opinion along those             22· · · · Q.· ·Correct.· Or any nursing notes or any --
23· ·lines?                                                                  23· · · · A.· ·No, no other notes.
24· · · · A.· ·I believe one or the other or both of the                     24· · · · Q.· ·Or any records from the jail doctor?· Never read
25· ·medications, sudden withdrawal created the problem.                     25· ·those; correct?

                                                                   Page 66                                                                         Page 68
·1· · · · Q.· ·Okay.· So your opinion -- let me ask you this:                ·1· · · · A.· ·Possible.
·2· ·Have you been asked to express an opinion?                              ·2· · · · Q.· ·Alcohol withdrawal can also cause a psychotic
·3· · · · A.· ·Not yet.                                                      ·3· ·event as I described earlier; correct?
·4· · · · Q.· ·Okay.· But you have an opinion as to what caused              ·4· · · · A.· ·Yes.
·5· ·his seizure at the Park County Jail?                                    ·5· · · · Q.· ·Is it -- you said it was possible that either
·6· · · · A.· ·Yes.                                                          ·6· ·stopping Suboxone or stopping Xanax could cause seizures.
·7· · · · Q.· ·And it's your opinion that the discontinuation of             ·7· ·From your understanding, is it -- in reading the medical
·8· ·the use of either the Suboxone or the Xanax or a combination ·8· ·literature or the history of treating patients, is it more
·9· ·is what caused his seizures at the Park County Jail?                    ·9· ·likely that seizures and psychotic events are caused by
10· · · · A.· ·I believe so.                                                 10· ·alcohol withdrawal as opposed to the discontinuation of
11· · · · Q.· ·Why do you believe that?                                      11· ·those medications?
12· · · · A.· ·It was timely.                                                12· · · · A.· ·What's your question again?· Is it more likely?
13· · · · Q.· ·So it's a temporal conclusion.                                13· · · · Q.· ·Yes.
14· · · · A.· ·Correct.                                                      14· · · · A.· ·It's more common.
15· · · · Q.· ·Are there any other reasons that you believe that?            15· · · · Q.· ·Meaning more likely.
16· · · · A.· ·No.· That was -- that's the main reason.                      16· · · · A.· ·I don't know if it's more likely but it's more
17· · · · Q.· ·Alcohol withdrawal can result in seizures;                    17· ·common.
18· ·correct?                                                                18· · · · Q.· ·Why do you think there's a distinction between
19· · · · A.· ·Correct.                                                      19· ·those two phrases?
20· · · · Q.· ·And do you know whether or not -- well, we will               20· · · · A.· ·Two different words.
21· ·come back to that.                                                      21· · · · Q.· ·All right.· If something happens more commonly,
22· · · · · · ·And, again, you haven't reviewed the jail records             22· ·doesn't that make it more likely to happen?
23· ·related to Mr. Schwark's incarceration at the Park County               23· · · · A.· ·Depends on the circumstances.
24· ·Jail, either his inmate records or his medical records?                 24· · · · Q.· ·Well, we're talking about alcohol withdrawal
25· · · · A.· ·What time frame are we talking about?                         25· ·causing seizures and psychotic events as opposed to


                                                         Stevens-Koenig Reporting                                                            ·Pages 65–68
                                                    303-988-8470· www.SKReporting.com                                                                        YVer1f
     Case 1:15-cv-02507-JLK Document 65-10 Filed 05/08/17 USDC Colorado Page 4 of 5
Kyle Jeffery Schwark vs.                                                                               Deposition of Jonathan William Singer, D.O.
Sheriff Fred Wegener, et al.                                                                                                   December 21, 2016
                                                                   Page 69                                                                           Page 71
·1· ·discontinuation of Suboxone and Xanax.                                  ·1· ·see that July 22, 2010, date.· Do you see that?
·2· · · · A.· ·I can say I think it's more common.                           ·2· · · · A.· ·Yes.
·3· · · · Q.· ·And just so the record is clear, it's your                    ·3· · · · Q.· ·And then it looks like there was a gap in
·4· ·testimony that it's more common that seizures and psychotic             ·4· ·treatment until May 31, 2012.· Is that -- did I read that
·5· ·events are caused by alcohol withdrawal than they are caused ·5· ·accurately?
·6· ·by the discontinuation of Suboxone or Xanax; correct?                   ·6· · · · A.· ·It looks that way.
·7· · · · A.· ·It's more common to see withdrawal seizures from              ·7· · · · Q.· ·Okay.· And then there was fairly consistent
·8· ·alcohol.                                                                ·8· ·treatment in 2012 as well as fairly consistent treatment up
·9· · · · Q.· ·As well as more common to see psychotic events                ·9· ·until September of 2013; correct?
10· ·from alcohol withdrawal than those medications --                       10· · · · A.· ·Correct.
11· ·discontinuation of those medications.                                   11· · · · Q.· ·Going back to Exhibit 17, which are your notes, on
12· · · · A.· ·Psychotic events.· I guess it depends on the                  12· ·that September 9, 2013, visit, under the CC column, is that
13· ·psychotic event.· I can't make a generalization.                        13· ·chief complaint?
14· · · · Q.· ·Do you know if the discontinuation of Suboxone                14· · · · A.· ·Yes.
15· ·and/or Xanax are likely to result in particular types of                15· · · · Q.· ·And here he's saying he's following up with you
16· ·psychotic events as opposed to other types of psychotic                 16· ·over stress over his DUI, that he was being sued by a
17· ·events?                                                                 17· ·policeman for tearing his rotator cuff.· Do you see that?
18· · · · A.· ·Probably.                                                     18· · · · A.· ·Yes.
19· · · · Q.· ·And what would those be?                                      19· · · · Q.· ·Do you have a recall of that?
20· · · · A.· ·I think reinstitution of the underlying disorder,             20· · · · A.· ·Some, yes.
21· ·not necessarily psychosis but the neurologic disorder that              21· · · · Q.· ·So did Mr. Schwark tell you that he was actually
22· ·they would be used for.· They are not always used for                   22· ·being sued by a police officer based on a confrontation that
23· ·psychosis.                                                              23· ·he had with an officer?
24· · · · Q.· ·Are you familiar with what happened to Mr. Schwark            24· · · · A.· ·Yes.
25· ·when he was in jail in March of 2014?                                   25· · · · Q.· ·The next category of S, is that subjective

                                                                   Page 70                                                                           Page 72
·1· · · · A.· ·I can't say for sure.                                         ·1· ·information from Mr. Schwark?
·2· · · · Q.· ·So if it had been called a psychotic event by                 ·2· · · · A.· ·Yes.
·3· ·other doctors, you wouldn't know if they were adequately                ·3· · · · Q.· ·And you note no change in drinking habit.· Do you
·4· ·characterizing that since you don't know what happened?                 ·4· ·know what his habit was during that time frame?
·5· · · · A.· ·Correct.· I would have to review the record.                  ·5· · · · A.· ·No, I don't during that time frame, just that he
·6· · · · Q.· ·Exhibit 17 are your notes, Dr. Singer, and these              ·6· ·was continuing to drink alcohol.
·7· ·are the packet of records I referred to earlier that I                  ·7· · · · Q.· ·At an abusive level?
·8· ·apologize are not in the correct order so we're going to                ·8· · · · A.· ·I believe so.
·9· ·have to kind of bounce our way around.                                  ·9· · · · Q.· ·And that he was using a half Suboxone daily?
10· · · · · · ·But just for starters here, the first note is                 10· · · · A.· ·Yes.
11· ·September 9, 2013, and this was the first note that I saw               11· · · · Q.· ·And then A, is that for assessment?
12· ·that was in this particular format.· Is this when you first             12· · · · A.· ·Yes.
13· ·started to do data entry as opposed to handwritten SOAP                 13· · · · Q.· ·And you've got opioid dependence, acute alcoholic
14· ·notes?                                                                  14· ·intoxication, and alcoholism continuous, meaning ongoing at
15· · · · · · ·(Exhibit Number 17 was marked.)                               15· ·the time.
16· · · · A.· ·No.· I have done data entry into electronic                   16· · · · A.· ·Yes.
17· ·medical records since 1987, but I've, at various times,                 17· · · · Q.· ·You got your toxic effect for lead and then the
18· ·stopped using it and started it again using different                   18· ·adjustment disorder; correct?
19· ·programs.                                                               19· · · · A.· ·Correct.
20· · · · Q.· ·We will come back to Exhibit 17 here shortly, but             20· · · · Q.· ·Had you -- I know we spoke about the lead toxicity
21· ·Exhibit 18 is your ledger, and it's in reverse chronological            21· ·contributing to his anxiety and depression.· You also
22· ·order.                                                                  22· ·testified about the allergies that had contributed to his
23· · · · · · ·(Exhibit Number 18 was marked.)                               23· ·depression and anxiety.· By this point in time, what were
24· · · · A.· ·Correct.                                                      24· ·other contributors to his depression and anxiety?
25· · · · Q.· ·And if you go to the last page of Exhibit 18, we              25· · · · A.· ·I think it was stress over this situation, it


                                                             Stevens-Koenig Reporting                                                          ·Pages 69–72
                                                        303-988-8470· www.SKReporting.com                                                                      YVer1f
    Case 1:15-cv-02507-JLK Document 65-10 Filed 05/08/17 USDC Colorado Page 5 of 5
Kyle Jeffery Schwark vs.                                                               Deposition of Jonathan William Singer, D.O.
Sheriff Fred Wegener, et al.                                                                                   December 21, 2016
                                                           Page 93                                                              Page 95
·1· ·vision.                                                      ·1· · · · A.· ·The jails all seem to have their own particular
·2· · · · A.· ·Yes.                                               ·2· ·rules, yes.
·3· · · · Q.· ·And I think you mentioned that your handwritten    ·3· · · · Q.· ·Do you know the rules at the Park County Jail?
·4· ·notes indicate a heroin relapse during this time frame?      ·4· · · · A.· ·My recollection is that he was not allowed to have
·5· · · · A.· ·I don't think so.· The 20th of April?              ·5· ·controlled substances in the jail.
·6· · · · Q.· ·Maybe it was later in 2015, but you made a         ·6· · · · Q.· ·And do you know if that's something that's common
·7· ·reference earlier.                                           ·7· ·in terms of not being permitted in a jail setting for a
·8· · · · A.· ·Right.· Right.· In 2015.                           ·8· ·whole variety of reasons?
·9· · · · Q.· ·What was the month on that relapse?                ·9· · · · A.· ·I don't know if it's common.· I've only dealt with
10· · · · A.· ·That was October 12, 2015.                         10· ·three jails, the two in Cheyenne and this jail.
11· · · · Q.· ·Okay.· Your ledger would indicate that you've      11· · · · Q.· ·Do the jails in Cheyenne permit controlled
12· ·continued to provide treatment fairly regularly for          12· ·substances to be prescribed to their inmates?
13· ·Mr. Schwark through 2015 as well as this year with your last 13· · · · A.· ·Yes.
14· ·visit just being a few days ago, December 16, 2016.          14· · · · Q.· ·And did you say more than one jail?
15· · · · A.· ·Yes.                                               15· · · · A.· ·Yes.· The Cheyenne County Jail and the Laramie --
16· · · · · · ·MR. ZIPORIN:· So we're going to need updated       16· ·no, the Laramie County Jail and the Cheyenne City Jail.
17· ·records from --                                              17· · · · Q.· ·Are those the only -- those three jails, are those
18· · · · · · ·MS. DICKEY:· Okay.                                 18· ·the only jails that you have personal knowledge as to
19· · · · A.· ·That's not an office visit.                        19· ·whether or not they allow or don't allow controlled
20· · · · Q.· ·(By Mr. Ziporin)· What happened on December 16?    20· ·substances?
21· · · · A.· ·He received -- we mailed out supplements to him.   21· · · · A.· ·That I can recall, yes.
22· · · · Q.· ·What kind of supplements?                          22· · · · Q.· ·So you're not familiar with any protocol in any
23· · · · A.· ·Cysteine and dopa, and that's it.                  23· ·other Colorado jail with regard to permission of controlled
24· · · · Q.· ·What are those for?                                24· ·substances?
25· · · · A.· ·Those are neurotransmitter replenishing            25· · · · A.· ·I am not.

                                                           Page 94                                                              Page 96
·1· ·supplements.                                                    ·1· · · · Q.· ·Exhibit 19 is a series of documents that appear to
·2· · · · Q.· ·Well, we will work with Mr. Schwark's attorneys       ·2· ·be prescriptions that you've made for Mr. Schwark.· Is that
·3· ·and get updated records from you guys.                          ·3· ·accurate?
·4· · · · A.· ·I don't believe there's any other updated note        ·4· · · · · · ·(Exhibit Number 19 was marked.)
·5· ·concerning those refills.· Those are just mailed out to him.    ·5· · · · A.· ·Yes.
·6· · · · Q.· ·But the last -- just -- so the last SOAP note that    ·6· · · · Q.· ·And on page 1 of Exhibit 19, it appears that on
·7· ·I have is from April of 2015, so we're obviously going to       ·7· ·February 21, 2014, you prescribed him with a medication;
·8· ·need --                                                         ·8· ·correct?
·9· · · · A.· ·Oh, okay.                                             ·9· · · · A.· ·Correct.
10· · · · Q.· ·-- updated records.                                   10· · · · Q.· ·And I'm going to let you tell me how that's
11· · · · A.· ·All right.                                            11· ·pronounced.
12· · · · Q.· ·Dr. Singer, have you ever worked in a jail?           12· · · · A.· ·Chlordiazepoxide.· That's Librium.
13· · · · A.· ·Have I worked in a jail?                              13· · · · Q.· ·And you specifically indicate here that you are
14· · · · Q.· ·Yeah.                                                 14· ·prescribing it for alcohol withdrawal; correct?
15· · · · A.· ·No.                                                   15· · · · A.· ·Correct.
16· · · · Q.· ·Have you ever been contracted to provide medical      16· · · · Q.· ·Why did you prescribe him Librium on February 21,
17· ·services for inmates at a jail?                                 17· ·2014?
18· · · · A.· ·Not contracted but worked for patients in jail.       18· · · · A.· ·That in my note he was using a half a quart of
19· · · · Q.· ·They would get a furlough to come see you while       19· ·vodka a day and we were trying to stop his alcohol use.· So
20· ·they were inmates?                                              20· ·I gave him that to prevent alcohol withdrawal.
21· · · · A.· ·Yes.                                                  21· · · · Q.· ·And did you also know at that time that he was
22· · · · Q.· ·Okay.· But are you familiar with protocols that       22· ·going into jail, back to Park County Jail, four days later?
23· ·exist at -- commonly exist at jails with regard to              23· · · · A.· ·I don't recall.
24· ·medications that are authorized and those that are not          24· · · · Q.· ·Would that make sense that you would have
25· ·authorized?                                                     25· ·prescribed the Librium knowing that he was going to jail


                                                  Stevens-Koenig Reporting                                               ·Pages 93–96
                                             303-988-8470· www.SKReporting.com                                                            YVer1f
